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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                  )
STEVES AND SONS, INC.,                            )
                                                  )
                       Plaintiff,                 )
                                                  )       Civil Action No. 3:20-cv-000098
v.                                                )
                                                  )
JELD-WEN, INC.,                                   )
                                                  )
                       Defendant.                 )
                                                  )


                             STEVES AND SONS, INC.’S
                   SUBMISSION REGARDING JUROR QUESTIONNAIRE

       JELD-WEN, Inc. (JELD-WEN) has submitted a proposed juror questionnaire (Doc #

258). The questionnaire has several questions highlighted in yellow. Those are questions that

Steves and Sons, Inc. (Steves) considers inappropriate. Steves explains below its position on

those questions.

       Question #9: The question places an unreasonable burden on prospective jurors. It is

one thing to ask prospective jurors the relatively straightforward question whether someone in

their household ever owned a business. That is a simple, objective question that is easily

answered. It is another thing to ask them to plumb the education, training and experience of

others in nine wide-ranging fields and to recount those other person’s experiences.            The

questionnaire already asks a lot of the prospective jurors. Asking them this much information

about others is an added burden that has virtually no likelihood of eliciting information that will

bear on the jurors’ qualifications.
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        Question #11. This question is intrusive and likely would offend many prospective

jurors. It asks if they ever felt “taken advantage of” or were “treated unfairly” in their personal

lives or at work, and requires them to describe in writing the particulars of what may be painful

memories. The question is so wide ranging and subjective that many prospective jurors will

have felt that way sometime in their lives—a failed romantic relationship; an ungrateful spouse

or child; etc.—and jurors cannot but take offense at the intrusion. There is no need for the

question as it most certainly will not reveal any disqualifying information that the other questions

would not otherwise elicit.

        Questions ##12, 13 & 15 (highlighted part): The questionnaire already asks whether

the prospective jurors were parties to lawsuits. These questions gild the lily with a series of

vague, subjective terms, asking the prospective jurors if they ever felt a contract “wasn’t

followed,” or someone “failed to meet their obligations,” or a deal was “broken.” This is not the

type of objective questions used in voir dire in this District and are argumentative spin by JELD-

WEN.

        Question #16: This question is pointless. It does not seem reasonably calculated to

identify information about the prospective jurors that might be relevant to their qualifications or

potential conflicts.

        Question #17: This question is argumentative. It also misstates the issues in the case.

Steves does not contend JELD-WEN bears the burden of proving it did not breach the Supply

Agreement or interfere with Steves’ relationships with customers.

        Question #31: JELD-WEN says this question bears on whether a prospective juror

should be excused from serving. But, being recently laid off is not an excuse from jury duty.

Nor is a generalized concern about a potential layoff, which is a widespread concern in the



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current economic climate. Asking this question might prompt prospective jurors to answer they

are concerned in the hope of being excused.          And to the extent JELD-WEN thinks

unemployment status is pertinent, Question #4 already asks if they are unemployed.

                                            Respectfully submitted,

                                            STEVES AND SONS, INC.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2020, I caused a copy of the foregoing to be

electronically filed using the CM/ECF system, which will send notification to counsel of record

of such filing by operation of the Court’s electronic system. Parties may access this filing via the

Court’s electronic system.


                                              By /s/Lewis F. Powell III
                                                    Lewis F. Powell III




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